220 F.2d 443
    Ellis NASIFv.UNITED STATES of America.
    No. 5087.
    United States Court of Appeals, Tenth Circuit.
    March 17, 1955.
    
      Appeal from the United States District Court for the Eastern District of Oklahoma.
      No appearance for appellant.
      Frank D. McSherry, U. S. Atty., and Harry G. Fender, Asst. U. S. Atty., Muskogee, Okl., for appellee.
      Before PHILLIPS, Chief Judge, and MURRAH, Circuit Judge.
      PER CURIAM.
    
    
      1
      Dismissed on court's own motion for failure of appellant diligently to prosecute.
    
    